Case 2:21-bk-11923-SK           Doc 92     Filed 06/16/22      Entered 06/16/22 15:26:51           Desc
                                             Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                             CALIFORNIA CENTRAL DISTRICT


In re:                                                      Case No. 21-11923-SK
         Anahit Harutyunyan

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Kathy A. Dockery, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:

         1) The case was filed on 03/10/2021.

         2) The plan was confirmed on 07/29/2021.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan on
11/12/2021, 01/21/2022.

         5) The case was dismissed on 04/22/2022.

         6) Number of months from filing or conversion to last payment: 14.

         7) Number of months case was pending: 15.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $106,550.00.

         10) Amount of unsecured claims discharged without full payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (09/01/2009)
Case 2:21-bk-11923-SK                 Doc 92      Filed 06/16/22      Entered 06/16/22 15:26:51               Desc
                                                    Page 2 of 3



Receipts:

           Total paid by or on behalf of the debtor                $61,680.00
           Less amount refunded to debtor                           $5,168.96

NET RECEIPTS:                                                                                        $56,511.04


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                      $4,000.00
    Court Costs                                                                    $0.00
    Trustee Expenses & Compensation                                            $4,392.00
    Other                                                                          $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                      $8,392.00

Attorney fees paid and disclosed by debtor:                           $0.00


Scheduled Creditors:
Creditor                                              Claim        Claim           Claim       Principal     Int.
Name                                     Class      Scheduled     Asserted        Allowed        Paid        Paid
Bank of America                       Unsecured        1,619.00          NA              NA           0.00       0.00
FIFTH THIRD BANK, NA                  Secured         88,277.53    88,277.53       88,277.53     16,338.89       0.00
FIFTH THIRD BANK, NA                  Secured               NA      1,025.00        1,025.00        175.52       0.00
Grachuy Arutyunyan, Trustee of the    Secured               NA      5,698.92        5,698.92      1,054.79       0.00
Grachuy Arutyunyan, Trustee of the    Secured               NA        328.90          328.90         43.35       0.00
Grachuy Arutyunyan, Trustee of the    Secured        122,216.46   122,216.46      122,216.46     16,485.51   7,675.39
JPMORGAN CHASE BANK, NA               Unsecured        1,163.00     1,163.78        1,163.78          0.00       0.00
LVNV FUNDING LLC                      Unsecured             NA        473.25          473.25          0.00       0.00
Masis Karapetyan, Naira Khachatryan   Unsecured             NA      3,185.00        3,185.00          0.00       0.00
Masis Karapetyan, Naira Khachatryan   Secured               NA          0.00        2,836.40        414.92       0.00
Masis Karapetyan, Naira Khachatryan   Secured         33,185.00    30,000.00       30,000.00      4,046.62   1,884.05
Masis Karapetyan, Naira Khachatryan   Secured               NA          0.00            0.00          0.00       0.00
Nordstrom FSB                         Unsecured           48.00          NA              NA           0.00       0.00
Resurgent Capital Services            Unsecured          402.00          NA              NA           0.00       0.00
VW CREDIT LEASING, LTD                Secured               NA          0.00            0.00          0.00       0.00




UST Form 101-13-FR-S (09/01/2009)
Case 2:21-bk-11923-SK            Doc 92      Filed 06/16/22      Entered 06/16/22 15:26:51            Desc
                                               Page 3 of 3



Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
Secured Payments:
      Mortgage Ongoing                                        $0.00              $0.00              $0.00
      Mortgage Arrearage                                 $98,166.75         $18,027.47              $0.00
      Debt Secured by Vehicle                                 $0.00              $0.00              $0.00
      All Other Secured                                 $152,216.46         $20,532.13          $9,559.44
TOTAL SECURED:                                          $250,383.21         $38,559.60          $9,559.44

Priority Unsecured Payments:
       Domestic Support Arrearage                               $0.00             $0.00              $0.00
       Domestic Support Ongoing                                 $0.00             $0.00              $0.00
       All Other Priority                                       $0.00             $0.00              $0.00
TOTAL PRIORITY:                                                 $0.00             $0.00              $0.00

GENERAL UNSECURED PAYMENTS:                                $4,822.03              $0.00              $0.00

Disbursements:

         Expenses of Administration                             $8,392.00
         Disbursements to Creditors                            $48,119.04

TOTAL DISBURSEMENTS :                                                                        $56,511.04


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
estate has been fully administered, the foregoing summary is true and complete, and all administrative
matters for which the trustee is responsible have been completed. The trustee requests a final decree be
entered that discharges the trustee and grants such other relief as may be just and proper .

Dated: 06/16/2022
                                              By:/s/ Kathy A. Dockery
                                                                     Trustee
STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (09/01/2009)
